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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


TORRANCE GRAHAM,

            Plaintiff,
                                             Civil Case No. 16-12258
v.                                           Honorable Linda V. Parker
                                             Magistrate Judge David R. Grand
HEATHER CHICOWSKI,
TYLER MILLER, PAUL BOWERMAN
and MICHAEL TROUTEN,

          Defendants.
__________________________/

 OPINION AND ORDER DENYING PLAINTIFF’S MOTION TO AMEND
                  OR ALTER JUDGMENT

      Plaintiff, Torrance Graham, is a prisoner currently confined at Chippewa

Correctional Facility of the Michigan Department of Corrections (“MDOC”). On

June 17, 2016, Plaintiff filed a pro se claim under 42 U.S.C. §1983 against

multiple MDOC employees (together “Defendants”): (1) Heather Chicowski,

supervising nurse; (2) Tyler Miller, correctional officer; (3) Paul Bowerman,

sergeant; and (4) Michael Trouten, grievance coordinator, for actions that occurred

while Plaintiff was confined at Duane L. Waters Health Center (“DLW”) and

Saginaw Correctional Facility (“SCF”) in Freeland, Michigan. (ECF No. 1.) In

response to Plaintiff’s complaint, on September 9, 2016, Defendants filed a motion

for summary judgment under Fed. R. Civ. P. 56 (a) for failure to exhaust
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administrative remedies. (ECF No. 10.) Subsequently, all pretrial matters were

referred to Magistrate Judge David R. Grand. (ECF No. 11.)

      Defendants provided the grievance report, which presented no evidence of

Plaintiff filing grievances on September 24, 2014 and September 26, 2014. In

response, Plaintiff argued that Defendants “impeded” his ability to exhaust all

administrative remedies. (ECF No. 15.) Subsequently, Plaintiff filed a motion for

partial summary judgment on his First Amendment retaliation claim. (ECF No.

18.) On April 18, 2017, Magistrate Judge Grand issued a Report and

Recommendation (“R&R”) recommending the Court deny both motions without

prejudice, which this Court adopted on July 20, 2017. (ECF No. 24 & 30.)

      On January 26, 2018, Defendants filed a second motion for summary

judgment stating: (1) Plaintiff failed to establish a prima facie retaliation claim; (2)

Plaintiff failed to prove which “liberty interest” was at stake with regards to

Plaintiff’s due process claim; and (3) Defendants are protected by qualified

immunity. (ECF No. 43 at Pg ID 379.) On April 5, 2018, Magistrate Judge Grand

issued an R&R recommending the Court grant Defendants’ motion for summary

judgment. (ECF No. 46 at Pg ID 614.) With respect to Plaintiff’s First

Amendment retaliation claim, Magistrate Judge Grand concluded that Plaintiff

failed to demonstrate an adverse action was taken against him. (Id. at 621.)

Additionally, Magistrate Judge Grand found that Plaintiff failed to establish an

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“atypical and significant hardship” under Plaintiff’s Fourteenth Amendment due

process claim. (Id. at 627.)

      In response to Magistrate Judge Grand’s R&R, Plaintiff filed two separate

objections on April 23, 2018 and May 3, 2018. (EFC Nos. 49 & 50.) Both

objections are substantively identical. In Plaintiff’s objections, he asserted that

Magistrate Judge Grand erred in his findings and Defendants’ motion for summary

judgment should be denied. On August 2, 2018, this Court issued an opinion and

order rejecting Plaintiff’s objections and adopting Magistrate Judge Grand’s R&R,

finding Plaintiff’s objections to be “conclusory and meritless” and granting

Defendants’ motion for summary judgment. (ECF No. 51 at Pg ID 703.) The

Court found that (1) Plaintiff merely disagreed with Magistrate Judge Grand’s

decision; (2) Plaintiff failed to address any disputes regarding the factual

allegations; and (3) Plaintiff failed to raise a valid objection or make a sufficient

showing to counter Magistrate Judge Grand’s application and conclusions of fact

and law. (ECF No. 51 at Pg ID 703-07.) The same day the Court entered a

judgment dismissing Plaintiff’s complaint with prejudice. (ECF No. 52.)

Presently before the Court is Plaintiff’s motion to alter or amend the judgment,

filed September 6, 2018. (ECF No. 53.)

      A motion to alter or amend judgment pursuant to Federal Rule of Civil

Procedure 59(e) “allows for reconsideration; it does not permit parties to

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effectively ‘re-argue a case.’ ” Howard v. United States, 533 F.3d 472, 475 (6th

Cir. 2008) (quoting Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146

F.3d 367, 374 (6th Cir. 1998)). The Court may alter or amend its judgment only if

there is: “(1) a clear error of law; (2) newly discovered evidence; (3) an intervening

change in controlling law; or (4) a need to prevent manifest injustice.” Intera

Corp. v. Henderson, 428 F.3d 605, 620 (6th Cir. 2005), cert. denied, 547 U.S.

1070, (2006). “This standard is not inconsistent with the ‘palpable defect’

standard” applied in this District pursuant to Local Rule 7.1(h) when addressing

motions for reconsideration. Henderson v. Walled Lake Consol. Sch., 469 F.3d

479, 496 (6th Cir. 2006). Pursuant to Rule 7.1, the Court will not grant motions for

rehearing or reconsideration that merely present the same issues ruled upon by the

Court, either expressly or by reasonable implication. The movant must not only

demonstrate a palpable defect by which the Court and the parties have been misled

but also show that correcting the defect will result in a different disposition of the

case. E.D. Mich. LR 7.1(h)(3).

      In his pending motion, Plaintiff raises the same and/or substantially similar

issues he asserted in his previous briefs and his objections to Magistrate Judge

Grand’s R&R. These are issues on which the Court has already ruled. The Court

is not persuaded that it made a clear error of law when it adopted Magistrate Judge

Grand’s R&R granting Defendants’ motion for summary judgment. Neither does

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the Court believe there has been an intervening change in controlling law. Nor is it

necessary to alter or amend the judgment to prevent manifest injustice.

      Accordingly,

      IT IS ORDERED that Plaintiff’s motion to alter or amend judgment (ECF

No. 53) is DENIED.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE

Dated: September 27, 2018

I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, September 27, 2018, by electronic and/or
U.S. First Class mail.

                                             s/ R. Loury
                                             Case Manager




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